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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

\G hn h | wri

tt

 

Write the full name of each plaintiff.

~against-

Alo (i loal VN suasowrea lnc.

 

 

 

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of

_ names. The names listed above must be identical to those
contained in Section Il.

 

19 CV 11544

(Include case number if one has been
assigned) °

Fm plo mente Discetmninafien

OMPLAINT

 

Do you ta jury trial?

es [CINo

 

 

 

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor's initials; and the last four digits of a financial account number.

NOTICE

See Federal Rule of Civil Procedure 5.2.

 

 

Rev. 1/9/17
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I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. Ina diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
 pederal Question
[] Diversity of Citizenship

A. If you checked Federal Question .

Which of your federal constitutional ha statutory rights have been violated?

Awe Cyl Ridats ck 6 . \ac4

 

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties
Of what State is each party a citizen?

The plaintiff, , is a citizen of the State of
(Plaintiff's name) ,

 

 

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject. ofthe foreign state of

 

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

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If the defendant is an individual:

The defendant, , , is a citizen of the State of
(Defendant’s name)

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If the defendant is a-corporation:

The defendant, Mall (\| sl \ Nap Tac. , is incorporated under the laws of

the State of \\.. ai Mak J

and has its principal place of business in the State of Wow \ ob

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Il. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Kado A \bacris

First Name Middle Initial Last Name

ASO. Wes Tih. St.

 

 

 

Street Address

Loe yl vi Ie. JO Y Were a
County, City State Zip Code
WrAV-AUU-AASL odorants SIQq wa). covey
Telephone Number Email Address (if available) “

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: Anal (| ahve Murai re Tae.

v

First Name Last Name

 

Current Job Title (or other identifying information)
OA. Weel sw Sk USad Elmoe_
Current Work Address (or other address where defendant may be served)

\Deay Vie We WY LOoLd

 

 

 

 

 

County, City : State Zip Code
Defendant 2:

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code
Defendant 3:

First Name sO Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City © State ' Zip Code

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Defendant 4:

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

A volte Gl olow| Manage went Ine AVest'S Must WN, a VOor4,

nomant, lnc. S& pact tack UE } (0036
Date(s) of occurrence: A) ,\ \ A\y N04, Nepalis Sat \ Lays Sub au ' \bf hy ( old

FACTS:

 

 

Ill. STATEMENT OF CLAIM
Place(s) of occurrence: . A \\. (lp 4
\

 

SIS

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

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oc alto Coo fuly OW, HOG So Ase eke “Sok Avia, Tv eu
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well oy: | Webs VAN a lho y wits Myre. Gowns Baan,
He ann wteaAa dt ov SO Sea ANG TD quolko. Ks Vea ire. sing,
bes Mo wall hens. Now reve AN SCL a ‘wecl 5 Ui\Se-g
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‘VW ‘“ cee ior lowe Wore. Coen eu is
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bolt fl / Wgée. ContsMiaaos tee Vole he AL Vw,
(Q\ leesc2 Sze hoe cd).

INJURIES:

lf you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

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State briefly what money damages or other relief you want the court to order.

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AP) civ tos W\E, Al: | Liola tars of Lue, Ciul I Rights fret of [AG a. —

 

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The comment made regarding me not giving off a "hood vibe"
was a direct reference to me being black. For context, it is
widely known that the term "hood" is stereotypical term used to
describe black people from urban backgrounds and who exhibit
less than distinguished behavior.

I responded to Brittany's inappropriate comment by saying "I'm
here to put my best foot forward and perform to the best of my
ability." Brittany responded "that's good" asked me to let her
know if I needed help with anything and walked away. It's worth
noting that at the time of my employment I was the only black
person on the legal billing team and the only male on the billing
team. The other 3 women on the billing team were Brittany
Maschi (Caucasian), Tricia Anderson (Caucasian), and Ilana
Bravo (Latino).

With respects to Ilana Bravo the only other non-white member
of the billing team at Apollo Global Management, Brittany
Maschi made numerous inappropriate comments to me about
this woman's job performance. Going as far as to tell me about
confidential Human Capital matters concerning Ilano Bravo;
such as Ilana Bravo receiving "write ups" for poor job
performance. This is important because, not once did Brittany
Maschi ever make to me unfavorable references about
employees past or present who were white However, every
single unfavorable reference was about an employee of the firm
who was either black or non-white. Ilana Bravo resigned from
her full time position on the legal billing team about a month
and a half into my employment. Subsequently, I was given
Ilana's job responsibility of handling the Private Equity and Real
Property invoices for the firm. Whereas, prior to her resignation
I was handling Registered Agent invoices. So one could say I
was promoted.

To further support my claim of racial bias/discrimination on the
part of Brittany Maschi, I point to a conversation I had with
Brittany on Tuesday July 16th, 2019, prior to attending a legal
workshop hosted by Kannan Shammugam of the renowned law
firm Paul Weiss. This workshop took place at Apollo Global
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Management’s global headquarters at 9 West 57th St in New
York City.

During the conversation I had with Brittany Maschi and I don't
know why she shared this, but without provocation Brittany
divulged to me that she was previously accused of making
racially insensitive comments in the form of a joke. Brittany's
comments were a part of an office email chain. Her comments
were noticed and reported to Human Capital by a long tenured
receptionist of the firm, who is a black woman. After, telling me
about this Brittany asked me not to mention it to anyone.
During another visit that Brittany and I made to the firm's global
headquarters we saw the receptionist that Brittany spoke of in
the admission she made to me weeks earlier. After we left the
firm, while walking up 57th St towards 6th Avenue, Brittany
asked me "Did you see the black woman that walked

by when we were upstairs?" I responded "yes". Brittany replied
"that's the bitch I told you about." Brittany then said "I don't
understand why the firm doesn't just pay her to retire.”

All of these comments were unwanted. I would have preferred
that Brittany never made them; as they me very uncomfortable
and projected the firm in a less than admirable light. Please
know I would have no knowledge of any prior accusations of
racial bias made against Ms. Maschi had she not told me about
them. If true, I'm sure there will be a record of them in personnel
file at the firm.

Regarding the retaliatory aspect of my complaint, I offer the
following for review.

On August 19th and August 20th 2019 I received what I
consider to be antagonistic Skype correspondence from Tricia
Anderson, one of my white female counterparts I mentioned
earlier in this complaint. These correspondence which I have
and are Exibit A, consisted of Tricia Anderson attempting to
boss me around and stating the direct orders I received from the
manager were "inefficient" and "not a good use of my time." By
this point, the Legal Billing team at Apollo only consisted of
myself, Tricia Anderson, and Brittany Maschi. To reiterate, [lano
Bravo had resigned by this time and subsequently I was given
the task of taking on [ana's responsibilities. Those
responsibilities being the handling of all the Private Equity and
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Real Property invoices for the entire firm. This was something |
know Tricia Anderson took exception with. According to
Brittany Maschi, Tricia Anderson asked to be given the
responsibilities upon Ilana Bravo's departure and was told "no".
I sure this was Tricia Anderson's motivation for sending me the
antagonistic correspondence. As she was not happy about and
felt threatened by the successes

I was having within the department.

Upon receiving these antagonistic correspondence from Tricia
Anderson, I on August 20th, 2019 sent Brittany Maschi a
message via the mobile application Whatsapp. At this point,
Brittany was out of the country on vacation and had been since
Friday August 16th, 2019. In the Whatsapp messages I| sent to
Brittany which I have I expressed that I had received some
workplace correspondence from Tricia that I deemed
inappropriate and that indicated to me that Tricia was being
territorial. In a Whatsapp message received from Brittany
Maschi on August 20th, 2019 she stated that she would have to
see the messages from Tricia "in context" and that it would be
addressed when she returned from vacation. Brittany was
scheduled to return to the office August 29th, 2019.

On August 26th 2019 I sent an inter-office email to both Tricia
Anderson and Charles Kirk. The email stated that I would be out
of the office on August 27th and August 28th, 2019 returning on
August 29th, 2019. Neither Tricia Anderson or Charles Kirk
responded to the email. For context Charles Kirk is a white male
who is an Information Technology employee that works closely
with the Legal Billing department at Apollo Global
Management.

On August 29th, 2019 upon her return to the office Brittany
Maschi and I sat down in her bosses office to discuss the Skype
communications I received from Tricia Anderson. During the
meeting Brittany Maschi's position was that she could totally
understand why I took exception to Tricia Anderson's
correspondence. Brittany stated that Tricia in the past, received
not so good performance reviews because of her lack of ability
to communicate within her role at the firm. My position during
the meeting was that I wanted to move past it and that I had no
problem working with Tricia, but that it was too early in my
tenure at the firm for these sorts of issues to be arising and I
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wanted to have them addressed. I referenced that fact that I had
taken the last to days off to tend to a personal matter and that the
email I'd sent to my colleagues was not responded to. I was
given no indication from Brittany Maschi during our meeting
that my taking the 2 days off was viewed as a negative. I left the
meeting feeling like we had moved past the issue and all was
well.

The following day August 30th, 2019, I came to work like I
normally had. I concluded my day at 2:30pm as it was the Labor
Day Holiday weekend. Shortly after leaving the office I received
a call from the consulting firm Michael Page which helped me
to attain the opportunity at Apollo Global Management. During
the call the account manager who worked to get me the
interview with Apollo made me aware that my assignment at
Apollo Global Management was over effective immediately.
The reason I given for my termination was that I had taken 2
days off from work; those being the days I referenced earlier in
my complaint August 27th and August 28th 2019.

Let me say this, under no circumstances is it legitimate that an
employee/contractor be fired from their employment for taking 2
days off from work after giving prior notice. There were no
extenuating circumstances relative to my work such as poor job
performance, not following direct orders, or tardiness. I have
zero doubt that the sole reasoning behind my termination was
my complaining about an employee who Brittany Maschi shared
a common bond with as a white woman and whom Brittany
Maschi is friendly with. This is retaliation. Additionally, my
employment/contract at Apollo Global Management was
scheduled to continue for the remainder of 2019.

I was such an exemplary employee while at Apollo Global
Management that I was personally given Brittany Maschi's
company corporate card for travel between the Apollo's New
YorK City and Purchase New York offices. A trip that I made at
least once. I was also scheduled to be nominated for full-time
employment with the firm by Brittany Maschi once her superior
and Chief Operating Officer at Apollo Kristen McMahon
returned from maternity leave.

Given the circumstances there was no legitimate reason for me
to be fired. This is an example of Brittany Maschi deciding to
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end my employment because I forgot my place. Which in her
eyes was just to shut up, do the job, and not complain. It is my
contention that if I wasn't black a male working in the
department with 2 whites females ( 1 of which did not like me)
and in an office environment that was during the time of my
employment pro dominantly non-black, my termination would
not have occurred. Additionally, and regarding my accusation of
retaliation, I called the New York City offices of Michael Page
on November 14", 2019. I called the direct line of a recruiter
who I worked with at Michael Page on other employment
opportunities over the past couple of years. The purpose of the
call was to work with this recruiter again on obtaining a new
employment opportunity. At the beginning of the call I made
this recruiter aware of the fact that up until Sep 30", 2019 I'd
worked at Apollo Global Management; and that my contract
there came to an un amicable fashion.

The recruiter told me she was aware of the situation because
works closely with the team that helped me to get the contract at
Apollo. The recruiter then went on to say that her understanding
was that my contract was ended because I had a problem with a
full time employee. This is a far cry from what I was told over
two months ago at the time of my termination by the account
manger at Michael Page. It’s my contention that Michael Page
was aware at that time that Apollo’s that actions regarding the
termination of my contract were not correct and attempted to
hide it from me. Aside from this revelation lending itself to my
accusation of retaliation it has also created a reputational hazard
for me. This reputational hazard has damaged my relationship
with Michael Page beyond repair as I doubt that they will be
willing to assist in future career searches as a result of being told
I had a problem with another employee. I can understand why
Apollo Global Management wouldn’t come out and say “Kadar
Harris’s contract was cancelled because he complained to his
Superior about unwanted instant messages.”as this would
constitute an illegal employment act. However falsely stating
that I had a problem or confrontation with a full time employee
is equally as egregious and has done irreplaceable damage to my
reputation, and my ability to mitigate my losses to this point.
Prior to my employment at Apollo Global Management I was
contracted through Michael Page on at least 5 different
occasions and never once was a contract of mine terminated for
any reason by any of the employers or organizations I worked
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with.

Also, I'd like it to be known that at the time of my termination
the Legal Billing team consisted only of myself, Brittany
Maschi, and the employee I complained about Tricia Anderson.
At this time there were a significant amount of legal invoices
being submitted to the department; and I mean in the hundreds
daily. Most of the invoices were practice invoices that were
submitted by the various law firms.

So if it wasn't retaliation, I don't understand how you terminate
an employee/contractor (in this case me) who was adding value,
hadn't caused any fights or arguments, and did all that they were
asked to do when there would only be 2 employees left in the
entire department to action this substantial amount of work.

If it would please the court, please know that prior to filing this
legal notification on October 8", 2019 I sent via certified mail a
demand letter to the Chief Legal Officer at Apollo Global
Management Inc John Suydam as well as one to the General
Counsel at Apollo Global Management Inc Chris Weideman. In
the letters I asked to receive a response to my demand one way
or the other within 30 days time. However, to this point I have
yet to receive a response. I also asked in the demand letters that
all documents be preserved relative to my instant message and
email communications with the employees mentioned in this
complaint as well as other full time employees of the firm I
corresponded with.

I look forward to my day in court, so that this matter may be
weighed by a jury of my peers.

Thank you

Kadar A Harris
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EXHIBIT A
RSET TITRE LAMINAE Macon
\J\ricl Peompben We le Covphiw Wo AS Peper) oN

Wich. \as Subsequently ~ Vewurte AA a

[8/19/2019 11:05 AM] Tricia Anderson: (/
ye same use the Hercules CDPQ
NOT the plain hercules

[8/19/2019 11:09 AM] Tricia Anderson:

have you just been working on that code this morning? How far along are you? Just dont want you to be wasting
time on that since im going to be reviewing it anyways i can take over if you want

[8/19/2019 11:14 AM] (ADAG. Wane

I've been working on everything from coding to rejections to maters in review. But regarding the codes for this
particular assignment- be my guest. I will send you over the spreadsheet with the codes that have already been
captured.

[8/19/2019 11:15 AM] Tricia Anderson: -
please do

im not sure why Brittany asked you to do that!
its not a good use of your time at this point lol

crag eqncsnee
(8/19/2019 11:17 AM]

It was fine. Having said that, some of the codes aren't showing in EAS or the reference guide. It's amazing the body
of work our dear friend IB left us. (headbang)

[8/19/2019 11:17 AM] Tricia Anderson:

FYI when coding these in the future you arent going to be using dept codes unless a fund is liquidated or otherwise
specified

im seeing you pulled a lot of dept codes

(8/19/2019 11:18 AM]
I agree and thank you. Thing is those were the only codes I could find bearing the names in the spread sheets. I'm
sure a few were just me. But I'm definitely aware we want to be using the fund codes.

{8/19/2019 11:19 AM] Tricia Anderson:
just an as FYI be sensitive of using dept codes on ANY invoices unless specified as these become Firm costs and its
better to have the funds pay when possible

ok coo
I
not sure if brittnay ever mentioend that

(8/19/2019 11:19 AM]
(y) Yes- we definitely went over that.

[8/19/2019 11:20 AM] Tricia Anderson:
ok goof
good

 

(8/19/2019 11:21 AM] Tricia Anderson:
also - thought about it over the weekend and please do not take anythign im say to you as an offense. there is so |
much to go over and as i think of random tidbits i know it seems i may be barking them at you but its just me rattling |
off my thoughts so hope its not coming across as bossy!
esp over email and skype i realized i cant have the same delivery as real life lo

dont want to scare you! —_ —amtecnmmnd
sear pct ener puatetttgeayamsarmnincnenann nnn

(8/19/2019 11:23 AM]
Never thought about it. But I appreciate the mention. I've learned through years now of corporate experience not to
take anything personal. It's how I've survived this long HAHAHA

 
 
  

{8/19/2019 11:24 AM] Tricia Anderson: ~~

ok lol it dawned on me over the weekend and didnt want to come off in such a way

 

(8/19/2019 11:25 AM] Tricia Anderson :e—~—-—

i also know what is a good use of time and not so good as such a new person so i may swoop in on some things and
give you others to do - i think brittany is more of the mind to throw you into things as a learning experience but i

dont find that as effiecient! ring experience bat
tnt anpungninanmnnstnnnnnansnn __

(8/19/2019 11:25 AM]
I really hadn't noticed. You're all good in my book. It's a pleasure working with you.
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[8/19/2019 11:25 AM] Tricia Anderson:
ok good to hear (chuckle)
it will all come in time

(8/19/2019 11:28 AM]

And would even that she's see my ability to get things done. So I can understand from her perspective why she feels
the hit ground running learning curve is a good approach. To this point 1 haven't been overwhelmed by anything, I
also think the systems functionality as it relates to certain task plays a part. I'm sure the new system will change that
for the better.

 

(8/19/2019 11:31 AM] Tricia Anderson:
good. dont get me wrong, i know you are capable and constantly learning. but also must be realistic and keep you
going at a steady pace to familiarize with certain things before having you do others. also trying to avoid us both
doing the same thing overlapping bc as you can see there is no shortage of other things to delegate!

 

 

{8/19/2019 11:32 AM]
FYI I'm leaving the office today at 5:30. I have a function to attend which | totally forgot about. Just a heads up.

{8/19/2019 11:32 AM] Tricia Anderson:
sure NP

 

(8/19/2019 11:34 AM] Tricia Anderson:
i remeber how IB made me feel my first several months here and now with her gone, i dont want to make someone
else feel that way!
it wasnt fun lol
IB = ilana

still used to speaking in code, forget i dont need to anymore haha

seoepaaisetninenntt says 05
a Ia pt ests cacpnatpanayagg ener tags
rm Vaca tHe gg ese A ERIN IS

[8/19/2019 11:35 AM] [(CAOAR. WAecais
You're a better person than me. | would have complained immediately(talktothehand)

 

[8/19/2019 12:05 PM] Tricia Anderson:
FYI i just looked and we do not have matters open

(8/19/2019 12:05 PM]
Okay

[8/19/2019 12:07 PM] Tricia Anderson:
im going to grab lunch - will open those matters for the firm and reply with the IDs - they SHOULD request online
but that firm usually doesnt and prob has no clue. Easier to just do it for them

(8/19/2019 12:07 PM]
Got it.

(8/19/2019 12:09 PM]
Practice group invoices do not get discounts correct ?

[8/19/2019 12:09 PM] Tricia Anderson:

Regarding my email for the Houthoff invoices - go ahead and check all those off as DO NOT PAY but leave in
review. | want to attach the PDFs they send before moving to approval

corretc

[8/19/2019 12:11 PM]
I'm not following. How do I leave them in review after refusing them as "not for payment by Apollo" ?

[8/19/2019 12:11 PM] Tricia Anderson:

not refusing

checkjing the DO NOTPAY box

on the invoice

they are goign to stay in LSS but go througth for tracking purposes only
did brittany show yo that?

[8/19/2019 12:12 PM]
I got you. First time I've been asked to do that. Okay-I'll do that.
And that's for all of them correct ?

(8/19/2019 12:12 PM] Tricia Anderson:
all for that firm yes

[8/19/2019 12:12 PM]
Okay

(8/19/2019 12:13 PM] Tricia Anderson:
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chris is prob sitl} attoney on so,me as well - make sure you udpate to Jim or Agnesizka
but leave in revew for now until we get the PDfs to attach

[8/19/2019 12:13 PM]
{y)

[8/19/2019 12:13 PM] Tricia Anderson:
thanks

br

n

BRB*

[8/19/2019 12:52 PM] Tricia Anderson:
FYI im on one of those online trainigns for new system from 1-5
cant believe its going to take tjhat long (better not) but ill be working during it as well

[8/19/2019 1:04 PM]
Enjoy !

[8/19/2019 1:05 PM] Tricia Anderson:
oh joy

{8/19/2019 1:09 PM] Tricia Anderson:
can you lok into those CSC invoices from brittanys email?

(8/19/2019 1:11 PM]
Yes- I'll check for them.

(8/19/2019 1:35 PM] Tricia Anderson:
that attachment looks fine to me!

[8/19/2019 1:36 PM]
It didn't come through on my end for some reason. Murat just sent it to me. So all is well.

(8/19/2019 1:37 PM] Tricia Anderson:
k

[8/19/2019 1:39 PM]
Having said that I'm seeing the initial email from Murat which has the attachment. The email from Brittany has
nothing attached to it- hence the confusion.

[8/19/2019 1:42 PM] Tricia Anderson:
gotcha

[8/19/2019 1:49 PM] Tricia Anderson:
if you dont see any of those tell Murat to instrict CSC to submt them

(8/19/2019 1:51 PM]
Yeah they're not there. I will INSTRUCT him to do that. Thanks.

[8/19/2019 1:52 PM] Tricia Anderson:
(handshake)

[8/19/2019 4:20 PM]
FY] all of those Houthoff invoices have been marked #doNotPay and updated accordingly.

[8/19/2019 4:22 PM] Tricia Anderson:
thanks
once we get the} PDFs ill give you the next steps

[8/19/2019 4:22 PM]
np
[8/19/2019 4:22 PM] Tricia Anderson:

totally up to you if you want to move those into allocation to free up your review tab, feel free
i moved mine into allcoation just be they were bothering me in review

(8/19/2019 4:23 PM]
They're good. I'll do everything at once.

(8/19/2019 4:26 PM] Tricia Anderson:
ok. and i guess n oothe rmatter needed for that baker firm.
no other*
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[8/19/2019 4:27 PM]
I surmised as much. So in other words they can just bill for both to 51995

[8/19/2019 4:31 PM] Tricia Anderson:
yes

[8/19/2019 4:31 PM]
Mission Accomplished

[8/19/2019 4:32 PM] Tricia Anderson:
(rock)

(8/19/2019 4:33 PM]
:)

[8/19/2019 4:36 PM]
What's the indicator for the practice invoices again ?

[8/19/2019 4:37 PM] Tricia Anderson:
it will say in the summary notes section "APG ..."

[8/19/2019 4:37 PM]
Thank you

[8/19/2019 5:17 PM}
I'm rolling out in 14 minutes. Are you here tomorrow ?

[8/19/2019 5:18 PM] Tricia Anderson:
ok

no ill be in wed

purchase rst of week

[8/19/2019 5:20 PM]
Ok. Talk tomorrow. I just responded to you email. I'll take care of that in the morning.

[8/19/2019 5:21 PM] Tricia Anderson:
ok i replied back

NP

[8/20/2019 9:04 AM] Tricia Anderson: rrr
gotta be careful with emails like that with the firms on them
thats an invoice they were going to write off but you indicated it was approved

i WILT FESPOIG ne, enero nce reounerer animate
statausemangertenn

[8/20/2019 9:05 AM] Tricia Anderson:
if you have a quetion like that leave the firm off

[8/20/2019 9:06 AM}
I said it was in approval. Which it is correct ?

[8/20/2019 9:07 AM] Tricia Anderson: tr snescmnnennennemnee '
wasnt necessay to say that. we can always pull an invoice out of approval, the firm doesnt need to know that

 
 
 
 

YOU JUSt EPUSE IE PACK meer arse ements

SGriecnetncsorssrmttesit

[8/20/2019 9:09 AM] [CiApAe. Wat l\S
Either you or Brittany will have to show me how to me how to do that. Pretty sure I haven't pulled an invoice
already "In Approval" out of approval.

[8/20/2019 9:10 AM] Tricia Anderson:
its super simple ill show you later today

[8/20/2019 9:10 AM]
yeah yeah

[8/20/2019 9:10 AM] Tricia Anderson:
just in general you have to be short with the firms and not loop them in on internal questions becuase they will either
get confused or change their minds

[8/20/2019 9:12AM] [CAOMR Laas
Cool.

pee TT

[8/20/2019 9:12 AM] Tricia Anderson: errr rrr \ : :
— > Continued next PAL
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see now they want to keep it in payment
not cool!
let me handle

   

[8/20/2019 9:14 AM] Is Kone. \WAAPAD
The email was addressed to me which is why I responded to it. If a make mistake was made I can take ownership of

that. However I'm going to be proactive when an email is addressed to me. I appreciate very much you sharing and I
get you point. Thanks

[8/20/2019 9:16 AM] Tricia Anderson: “~~~
thats fine but you just need to be more careful on email. Too much extra back and forth is not efficient

aaa

mit eeepc ne

 

 

 

 

it will cause issue peer
poo
[8/20/2019 9:17 AM]

So I'm forwarding you over a new matter request from Tecora. You will see it in seconds. Unless you want to show
me how to do it.

[8/20/2019 9:18 AN] Tricia Anderson: pee nto

example you thanked him for saying not you refuse it as i responded that we are following original instruction

ok or ce Pe etc rac a sag nonin erage natn TEER pn

  
 
 

SE cna

[8/20/2019 9:18 AM]
Sending now.
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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11. a

_ Lagree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

,

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to

i
we

 

 

 

 

 

 

 

Dated KE we

alle yc A __ Law S
First Name Middle Initial Last Name

AO. Weed 77th, St Ap £602

Street Address
County, City State Zip Code
fl « “Che pee ff LD pena ko. A gee “| .
bid Bl25Z, Kadarhonris 8 duel eco
Telephone Number Email Address (if available) GU

Ihave read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Yes ONo .

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

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EEOC Form 161-B (11/46) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

 

To: Kadar A. Harris From: New York District Office
250 West 77th Street, Apt 603 33 Whitehall Street
New York, NY 10024 5th Floor

New York, NY 10004

[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative Telephone No.

Orfelino Genao,
520-2019-05980 Investigator (212) 336-3642

(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your iawsuit under Title Vil, the ADA or GINA must be filed in a federai or state court WITHIN $0 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.

Ue) EIU

The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

[

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

LU

The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission

Vib, Looks A “2 b- ZA
J aD.

Enclosures(s) e f Keviti Sf Berry, eo (Date Mailed)
District Directo

ce:

APOLLO GLOBAL MANAGEMENT
9 West 57th St 43rd Floor
New York, NY 10019
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Enclosure with EEOC
Form 161-B (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vi, the ADA or GINA:

if you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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FACTS ABOUT FILING
AN EMPLOYMENT DISCRIMINATION SUIT
IN FEDERAL COURT IN NEW YORK STATE

You have received a document which is the final determination or other final action of the
Commission. This ends our handling of your charge. The Commission's action is effective upon
receipt. Now, you must decide whether you want to file a private lawsuit in court. This fact
sheet answers several commonly asked questions about filing a private lawsuit.

WHERE SHOULD I FILE MY LAWSUIT?

Federal District Courts have strict rules concerning where you may file a suit. You may file a
lawsuit against the respondent (employer, union, or employment agency) named in your charge.
The appropriate court is the district court which covers either the county where the respondent is
located or the county where the alleged act of discrimination occurred. However, you should
contact the court directly if you have questions where to file your lawsuit. New York State has
four federal districts:

e The United States District Court for the Southern District of New York is located at 500
Pearl Street in Manhattan. It covers the counties of Bronx, Dutchess, New York

(Manhattan), Orange, Putnam, Rockland, Sullivan, and Westchester. (212) 805-0136
http:/Awww.nysd.uscourts.gov

e The United States District Court for the Eastern District of New York is located at 225
Cadman Plaza in Brooklyn and covers the counties of Kings (Brooklyn), Nassau, Queens,
Richmond (Staten Island), and Suffolk. (718) 613-2600 http:/Awww.nyed.uscourts.gov

e The United States District Court for the Western District of New York is located at 68
Court Street in Buffalo. It covers the counties of Allegheny, Cattaraugus, Chautauqua,
Chemung, Erie, Genesee, Livingston, Monroe, Niagara, Ontario, Orleans, Schuyler,

Seneca, Steuben, Wayne, Wyoming, and Yates. (716) 551-4211
http://www.nywd.uscourts.gov

e The United States District Court for the Northern District of New York is located at 100
South Clinton Street in Syracuse and covers the counties of Albany, Broome, Cayuga,
Chanango, Clinton, Columbia, Cortland, Delaware, Essex, Franklin, Fulton, Greene,
Hamilton, Herkimer, Jefferson, Lewis, Madison, Montgomery, Oneida, Onandaga,
Oswego, Otsego, Rensselaer, St. Lawrence, Saratoga, Schenectady, Schoharie, Tioga,
Tompkins, Ulster, Warren, and Washington. This District Court's pro Se Attorney has

offices at 10 Broad Street in Utica New York. (315) 234-8500
http:/Avww.nynd.uscourts.gov

WHEN MUST I FILE MY LAWSUIT?

Your private lawsuit must be filed in U.S. District Court within 90 days of the date you receive
the enclosed EEOC Notice of Right to Sue. Otherwise, you will have lost your right to sue.

(Over)

 

 
